          Case 1:15-cr-00333-LTS Document 106 Filed 08/30/19 Page 1 of 2



Hon. Laura Taylor Swain                                U.S. Department of Justice
August 30, 2019
Page 1                                                 United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                       August 30, 2019

BY ECF & FAX (212-805-0426)

The Honorable Laura Taylor Swain
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007
(212) 805-0426

                       Re:     United States v. Andrei Tyurin,
                               15 Cr. 333 (LTS)

Dear Judge Swain:

        The Government, with the defendant’s consent through his counsel, Florian Miedel,
respectfully submits this letter to request an adjournment of the upcoming conference, presently
scheduled for September 6, 2019, in this matter. The parties have been engaging in fruitful
negotiations to resolve this matter short of trial, but need additional time to finalize a disposition.
Accordingly, the parties respectfully request an adjournment until September 5 at 10:00 AM or
September 23 at 2:30 PM, times that Chambers has indicated the Court is available.

        The parties further respectfully request that the time until the date of the rescheduled
conference be excluded pursuant to the provisions of the Speedy Trial Act to permit the parties to
finalize discussions regarding a pretrial resolution of this complex matter.

       A proposed endorsement for the Court’s consideration is below.
         Case 1:15-cr-00333-LTS Document 106 Filed 08/30/19 Page 2 of 2



Hon. Laura Taylor Swain
August 30, 2019
Page 2

                                                      Respectfully submitted,

                                                      GEOFFREY S. BERMAN
                                                      United States Attorney

                                                      By:
                                                            ___________________________________
                                                            Eun Young Choi
                                                            Assistant United States Attorney
                                                            Southern District of New York
                                                            Tel: (212) 637-2187

ENDORSEMENT:

        Upon the application of the United States of America, by and through Assistant United
States Attorney Eun Young Choi, and with the consent of the defendant by and through his
counsel, it is hereby

      ORDERED that the conference in this matter is adjourned until September 23, 2019, at
2:30 PM, and it is further

       ORDERED that the time between the date of this Order and September 23, 2019 is
excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), in the interests of justice.

        The Court finds that the ends of justice served by granting a continuance outweigh the
best interests of the public and the defendant in a speedy trial, because it would permit the parties
to further discuss a possible pretrial disposition of this complex matter.

Dated:         New York, New York
               September ___, 2019


                                              _______________________________________
                                              THE HONORABLE LAURA TAYLOR SWAIN
                                              UNITED STATES DISTRICT JUDGE
cc: Defense Counsel (via ECF)
